                                                                                           FILED
                                                                                        MAY 12 2021
                                                                                      U.S. DISTRICT COURT
                     IN THE UNITED STATES DISTRICT COURT FOR THE EASTERif.1 1,ir_oFMO         ri~
                             EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                 Plaintiff,                     )
                                                )
         V.                                     )

BRAD STEPHENS,
                                                )
                                                )
                                                      4:21CR310 SEP/NAB
                                                )
                                                )
                 Defendant.                     )


                                           INDICTMENT

         THE GRAND JURY CHARGES:

                                           COUNTS 1-3
                                           MAIL FRAUD

  A.     Introduction and Background

         At all times relevant to the Indictment:

         1.      The defendant BRAD STEPHENS (hereinafter referred to as "STEPHENS")

  was employed as a police officer by the St. Louis Metropolitan Police Department (hereinafter

  referred to as "SLMPD") in St. Louis, Missouri, and had been employed by the SLMPD since

  October 6, 2014.

         2.      The Tower Grove South Concerned Citizen Special Business District (hereinafter

  referred to as "TGSCC-SBD") was formed in approximately 2009 within the Tower Grove

  South Neighborhood in St. Louis, Missouri. TGSCC-SBD was established to provide special

  police and/or security facilities, equipment, vehicles and/or personnel for the protection and

  enjoyment of the property owners and the general public within the district. The administration
and operations ofTGSCC-SBD were taxpayer funded. During approximately 2010, TGSCC-

SBD contracted with City Wide Security (hereinafter referred to as "CWS") to provide

additional private security patrols within the Tower Grove South Neighborhood.

       3.        CWS is a private company that contracts with businesses and organizations to

provide private security patrols. CWS employs off-duty uniformed SLMPD police officers to

conduct the security patrols. The defendant, STEPHENS, was employed by CWS beginning in

approximately 2015 to work during some of his off-duty hours to patrol the Tower Grove South

Neighborhood under CWS's contract with TGSCC-SBD. CWS provided its off-duty SLMPD

police officer employees, including STEPHENS, a vehicle to be used to patrol the neighborhood

that was equipped with a GPS system to track the vehicle's operation. The CWS employees

were also supplied with a daily logbook within which they were to log patrols and report any

activity that occurred during their shifts. These patrol logs were provided by CWS to TGSCC-

SBD monthly. While STEPHENS was employed by CWS, he and the other CWS employees

would send the CWS administrator via email each month the days and shifts they agreed to work

the security patrol for TGSCC-SBD. Relying upon those representations by STEPHENS and

the other CWS employees, the CWS administrator would then put together a monthly calendar

listing each CWS employee's assigned patrol days and shifts and distribute those monthly

calendars to STEPHENS and the other CWS employees. STEPHENS was terminated by CWS

on or about August 18, 2019.

B.     Scheme To Defraud

       4.        Beginning on or about January 1, 2018 and continuing through on or about

August 19, 2019, both dates being approximate and inclusive, in the Eastern District of Missouri,

the defendant,


                                                 2
                                      BRAD STEPHENS,

devised, intended to devise, and knowingly participated in a scheme to defraud and to obtain

money from City Wide Security and the Tower Grove South Concerned Citizen Special

Business District by means of materially false and fraudulent pretenses, representations, and

prorruses.

       5.      It was a part of the scheme that, on one and more occasions, STEPHENS falsely

represented to CWS certain days and shifts he agreed to work as part of the CWS security patrol

in the Tower Grove South Neighborhood when, in fact, and unbeknownst to CWS, STEPHENS

did not actually work those assigned days and shifts. Based upon his false representations,

STEPHENS was paid $25 - $30 per hour by CWS for the days and shifts he did not actually

work, with funds CWS received under its contract with TGSCC-SBD.

       6.      On the days and shifts STEPHENS did not work his assigned security patrol in

the Tower Grove South Neighborhood, no other CWS employee covered those days and shifts

and, therefore, the Tower Grove South Neighborhood was not provided with the private security

patrols it contracted for through TGSCC-SBD. TGSCC-SBD paid CWS for those unattended

security patrols with taxpayer derived funds, falsely believing that STEPHENS had performed

those assigned security patrols.

       7.      As a further part of the scheme, during 2018, STEPHENS falsely represented

that he worked on the CWS security patrol in the Tower Grove South Neighborhood on

approximately 93 days. Based upon his false representations, STEPHENS was paid

approximately $14,250 by CWS for work he did not actually perform for TGSCC-SBD during

2018. TGSCC-SBD unwittingly paid CWS approximately $29,000 of taxpayer funds for hours

STEPHENS did not actually work.


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          8.     As a further part of the scheme, during 2019, STEPHENS falsely represented

that he worked on the CWS security patrol in the Tower Grove South Neighborhood on

approximately 76 days. Based upon his false representations, STEPHENS was paid

approximately $10,500 by CWS for work he did not actually perform for TGSCC-SBD during

2019. TGSCC-SBD unwittingly paid CWS approximately $21,000 of taxpayer funds for hours

STEPHENS did not actually work.

C.        The Mailings

          Count 1

          9.     On or about August 9, 2019, within the Eastern District of Missouri, for the purpose

of executing the above-described scheme to defraud and to obtain money and property by means

of false and fraudulent pretenses and representations, the defendant,

                                        BRAD STEPHENS,

knowingly caused City Wide Security to mail a check to his home address in St. Louis, Missouri

in the amount of$648.00, which funds represented wages STEPHENS purportedly earned based

upon his false representations that he had worked certain days and shifts on the Tower Grove South

Neighborhood security patrol when, as he well knew, he had not in fact worked those days and

shifts.

          All in violation of Title 18, United States Code, Section 1341.

          Count2

          10.    On or about July 12, 2019, within the Eastern District of Missouri, for the purpose

of executing the above-described scheme to defraud and to obtain money and property by means

of false and fraudulent pretenses and representations, the defendant,

                                         BRAD STEPHENS,


                                                   4
knowingly caused City Wide Security to mail a check to his home address in St. Louis, Missouri

in the amount of $648.00, which funds represented wages STEPHENS purportedly earned based

upon his false representations that he had worked certain days and shifts on the Tower Grove South

Neighborhood security patrol when, as he well knew, he had not in fact worked those days and

shifts.

          All in violation of Title 18, United States Code, Section 1341.

          Count3

          11.    On or about June 28, 2019, within the Eastern District of Missouri, for the purpose

of executing the above-described scheme to defraud and to obtain money and property by means

of false and fraudulent pretenses and representations, the defendant,

                                         BRAD STEPHENS,

knowingly caused City Wide Security to mail a check to his home address in St. Louis, Missouri

in the amount of $1,032.00, which funds represented wages STEPHENS purportedly earned based

upon his false representations that he had worked certain days and shifts on the Tower Grove South

Neighborhood security patrol when, as he well knew, he had not in fact worked those days and

shifts.

          All in violation of Title 18, United States Code, Section 1341.

                                  FORFEITURE ALLEGATION

          The Grand Jury further alleges there is probable cause that:

          1.     Pursuant to Title 18, United States Code, Sections 981 ( a)(l )(C) and Title 28, United

States Code, Section 2461, upon conviction of an offense in violation of Title 18, United States

Code, Section 1341 as set forth in Counts One, Two, and Three, the defendant shall forfeit to the




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United States of America any property, real or personal, which constitutes or is derived from

proceeds traceable to such violation.

       2.      Subjectto forfeiture is a sum of money equal to the total value of any property, real

or personal, constituting or derived from any proceeds traceable to such violation, which is at least

$50,000.

       3.      If any of the property described above, as a result of any act or omission of the

defendant:

               a.      cannot be located upon the exercise of due diligence;

              b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided without

                       difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).



                                                      A TRUE BILL




                                                      FOREPERSON

       SAYLER A FLEMING
       United States Attorney


       HAL GOLDSMITH, 32984MO
       Assistant United States Attorney


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